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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division



    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and                        Civil Action No. 3:17-cv-00072-NKM
    THOMAS BAKER,
                                                                JURY TRIAL DEMANDED
                     Plaintiffs,

           -against-

    JASON KESSLER, et al.,

                           Defendant.



               MOTION FOR PRO HAC VICE ADMISSION OF NOEL R. LEÓN

                  Pursuant to Rule 6(d) of the Local Rules for the United States District Court for

   the Western District of Virginia, I, Matthew W. Evans, an attorney admitted to practice in this

   Court, and counsel of record in the instant proceeding hereby moves the Court for the admission

   of Noel R. León, Esquire to appear pro hac vice on behalf of Integrity First for America in the

   above captioned case and in support thereof states as follows:

          1.      Ms. León is an Associate with the law firm of Emery Celli Brinckerhoff Abady

   Ward & Maazel, LLP, 600 Fifth Avenue, 10th Floor, New York, NY 10020 (Tel: 212-763-5000,

   Fax: 212-763-5001, Email: nleon@ecbawm.com).

          2.      Ms. León is qualified and licensed to practice law and is a bar member in good

   standing in the State of New York (Bar ID No. 5337738 – since March 12, 2015) and in the

   District of Columbia (Bar ID No. 1046353 – since April 10, 2017).

          3.      Ms. León agrees to submit and comply with the appropriate rules of procedure as

   required in the case for which she is applying to appear pro hac vice as well as the rules and
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   standards of professional conduct applicable to all lawyers admitted to practice before this Court.

            WHEREFORE, for the reasons stated above, it is requested that this Court grant this

   motion and permit Noel R. León to appear pro hac vice on behalf of Integrity First for America

   in the above captioned case, and to appear at hearings or trials in the absence of an associated

   member of the bar of this Court.


   Dated:    October 12, 2021


                                                            Respectfully submitted,


                                                            By:          /s/ Matthew W. Evans
                                                                   Matthew W. Evans, VSB# 82081

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:


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          I further certify that on October 12, 2021, I also served the foregoing upon following
   non-ECF pro se defendants and participants, via electronic mail or First Class U.S. Mail, as
   follows:

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                                                       /s/ Matthew W. Evans
